     Case 3:17-cv-00939-WHA Document 458-2 Filed 05/17/17 Page 1 of 2




 1

 2
 3
 4
 5
 6
 7
 8
                               UNITED STATES DISTRICT COURT
 9
               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
     WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA
11
                  Plaintiff,                      [PROPOSED] ORDER GRANTING
12                                                PLAINTIFF WAYMO LLC’S
         vs.                                      ADMINISTRATIVE MOTION TO FILE
13                                                UNDER SEAL ITS LETTER BRIEF
   UBER TECHNOLOGIES, INC.;                       OPPOSING DEFENDANTS’ REQUEST
14 OTTOMOTTO LLC; OTTO TRUCKING                   TO FILE A SUR-REPLY IN SUPPORT OF
   LLC,                                           WAYMO’S MOTION TO COMPEL
15
             Defendants.
16
17
18
19

20
21
22
23
24
25
26
27
28

                                                                      CASE NO. 3:17-cv-00939-WHA
                                  [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 458-2 Filed 05/17/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 the confidential information in its May 17, 2017 Letter Brief opposing Defendants’ Request to File
 3 a Sur-Reply in Opposition to Waymo’s Motion to Compel and Exhibit 1 thereto (the
 4 “Administrative Motion”).
 5          Having considered the Administrative Motion, and good cause to seal having been shown,
 6 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed
 7 below:
 8                       Document                     Portions to Be Filed Under Seal
 9           Letter Brief                            Highlighted in Blue
             Exhibit 1 to Letter Brief               Highlighted in Blue
10
11          IT IS SO ORDERED.
12
13 Dated: ______________, 2017
14
                                               HON. WILLIAM ALSUP
15                                             United States District Court Judge

16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       -2-                   CASE NO. 3:17-cv-00939-WHA
                                         [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
